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                          UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 Northern DIVISION



QBE Corporate Limited                          }
                                               }
                   Plaintiff                   }         Case No. 2:16-cv-00682-SRW
                                               }
         v.                                    }
                                               }
                                               }
 Browder Veneer Works,                         }
                                               }
                   Defendant                   }




      Consent to Magistrate Judge Jurisdiction
      In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
United States magistrate judge conduct all further proceedings in this case, including trial and
entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
United States Court of Appeals for the Eleventh Circuit.



DATE:     October 17, 2016                      NAME:    Arthur Grady Williams

                                 PARTY REPRESENTED       QBE Corporate Limited
